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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRENDA BROWN,                                         )
                                                      )
        Plaintiff,                                    )
                                                      ) Civil Action No. 16-cv-11152
vs.                                                   )
                                                      )
KELLY SERVICES, INC.                                  ) Judge Marvin E. Aspen
                                                      )
        Defendant.                                    )

           PLAINTIFF=S RESPONSE TO THE DEFENDANT=S MOTION TO
           SET A DISPOSITIVE MOTION FILING DEADLINE OR, IN THE
          ALTERNATIVE, DEEM SUMMARY JUDGMENT MOTION TIMELY

        Defendant Kelly Services, Inc. filed an untimely summary judgment motion without

leave of Court or even noticing it for hearing. In her response to that Motion, Plaintiff Brenda

Brown pointed out that the Defendant’s motion violated the time requirements under FED. R.

CIV. P. 56(b) and argued for its dismissal. The Defendant has now filed another motion (also

without a notice of presentment) asking this Court to ignore its transgression of the federal rules

and simply deem the summary judgment motion as timely. Fed.R.Civ.P. 6(b)(1)(b) requires the

Defendant to show excusable neglect when seeking to file its summary judgment motion after

the original time expired. The Defendant, however, offers no reasonable excuse for failing to

comply with the plain language of Rule 56(b). In the absence of showing excusable neglect, the

Defendant=s motion for leave to file its untimely summary judgment motion must be denied.

        The Defendant acknowledges that no order was set by this Court for the filing of the

summary judgment motion. [Def. Mt Par 3] It, however, never explains why Rule 56(b)

requiring summary judgment motions to be filed within 30 days after the close of discovery


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would not govern. Ignoring the requirements of Rule 56(b), the Defendant asserts that it was

under the belief during the August 24, 20167 status that the Court would set the dispositive

motion schedule at the December 14, 2017 status. The Defendant’s position is disingenuous.

Nothing at the August 24th status would have allowed the Defendant to believe the Court would

set a dispositive motion schedule three months later in December. Indeed, the Court made it clear

on August 24th that the purpose of the December 14th status date was to set a trial date very soon

thereafter. If the Defendant was truly intending on filing a summary judgment motion at that

time, it should had raised the issue at the August 24th status. But, as the Defendant concedes,

there was absolutely no discussion regarding dispositive motions at the August 24th status. [Def.

Motion Par. 5] Instead, Defendant sat silent as the Court discussed the submission of the trial

materials and its intention to set a trial date.

        Even if the Defendant somehow believed the Court would set the dispositive motion

schedule three months later in December, that unfounded belief is no excuse for ignoring the

requirements of Rule 56(b) or to timely seek an extension of that deadline under Rule 6(b). The

excusable neglect standard can never be met by an unaccountable lapse in following the plain

language of the federal procedural rules. Prizevoits v. Ind. Bell Tel. Co., 76 F.3d 132, 133-34 (7th

Cir. 1995), citing, In re Cosmopolitan Aviation Corp., 763 F.2d 507, 515 (2d Cir. 1985)

        The Defendant now attempts to excuse its delay in filing the summary judgment motion

on the need to obtain the deposition transcripts of Kelly employees. [Def Motion Par. 13]

According to Defendant, its counsel was unaware that the deposition transcripts were not

prepared until the last part of August. [Def Motion Par. 14] The Defendant’s position

underscores its complete lack of diligence in complying with the filing requirements of Rule 56.


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       Summary judgment motions by necessity rely extensively on deposition transcripts and

this case is no exception as the Defendant admits. [Def. Motion Par. 13] However, the Defendant

claims it was not aware that the transcripts were not prepared until the end of August. [Id Par 14]

This means the Defendant could not have possibly begun preparing its summary judgment

submissions until the end of August, despite the August 31, 2017 filing deadline set by Rule

56(b). Defendant offers no information as to what it had done to comply with Rule 56(b) during

the first twenty-five days of August after discovery ended. A party cannot sit on its hands doing

nothing and then argue its failure to meet a deadline is excusable. Raymond v. Ameritech Corp.,

442 F.3d 600, 607 (7th Cir. 2006)(Attempt to file untimely summary judgment response denied

where record showed no effort to begin preparing response in a timely manner)

       Defendant next argues that the Plaintiff never objected to the summary judgment motion

at the time it was filed. Defendant, however, never presented the motion for hearing as required

by LR 5.3(b) so there was nothing properly before the Court to object to. When the Court

ordered, sue sponte, a response to the Motion, Plaintiff responded by not only objecting to the

summary judgment motion as untimely but alternatively objected to the motion substantively.

       The Defendant also claims Plaintiff will not be prejudiced by the filing of the untimely

motion. The Plaintiff, however, has been prejudiced by the fact it had to respond at all to an

untimely and meritless summary judgment motion while also preparing the trial materials

required by the Court. Similarly, the untimely motion threatens to delay the setting of a trial date

and interferes with the Court’s management of its own calendar.

       The Defendant, on the other hand, will suffer no prejudice by denying it leave to file an

untimely summary judgment motion. Indeed, unlike the parties in Wienco, Inc. v. Katahn


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Associates, 965 F.2d 565 (7th Cir. 1992) and Raymond v. Ameritech Corp., 442 F.3d 600 (7th

Cir. 2006) where untimely summary judgment responses resulted in the admission of the

movant’s factual statements, the Defendant here can still present its case to the jury at trial.

Indeed, the only effect arising from the denial of the Defendant’s motion will be the inability for

it to pursue a summary adjudication of the Plaintiff’s claims offered by Rule 56. However, since

the parties have already submitted their trial materials, a summary adjudication is now irrelevant.

                                          CONCLUSION

       For the foregoing reasons, the Court must deny the Defendant’s Motion to Set a

Dispositive Motion Filing Deadline Or, in the Alternative, Deem Summary Judgment Motion

Timely and to grant the Plaintiff such further relief the court deems appropriate under the

circumstances.

                                                       Respectfully submitted,


                                                       BRENDA BROWN

                                                       By:/s/ Marshall J. Burt
                                                              Her attorney



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                                CERTIFICATE OF SERVICE

I hereby certify that on October 31, 2017, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system which will send notification of this filing to the following

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